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JoHNNY JoHNsoN, ' ' “"' Mb»w'PH:s`

Plaintiff,
v. NO. 03_2911-13/\/

SHELBY COUNTY SCHOOLS,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOT[ON FOR SUMMARY JUDGMENT

 

Before the Court is the motion of the Defendant, Shelby County Schoo|s (“SCS”)1 for
summary judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure. Plaintii"i"]ohnny
.lohnson, a black male, initiated this action g §§ on December 4, 2003, alleging that SCS
discriminated against him on the basis of his race and sex in violation ofTitle VH of the Civil Rights
Act of 1964 (“Title VII”), 42 U.S.C. § ZOOOe, et s_ecL, as amended, and on the basis ofhis age in
violation ofthe Age Discrimination in EmploymentAct ot`1967 (“ADEA”), 29 U.S.C. §§ 621-634l
As the Plaintifi` has responded to Defendant’s motion as well as filed a reply1 to the Defendant’s

reply to Johnson’s initial response, the motion is now appropriate for disposition

 

l lnciuded in Jolmson’s reply memorandum in opposition to Dei"endant’s motion for
summary judgment is Plaintift"s motion to reset the trial date.

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FACTS

 

Johnson applied for a position as a substitute teacher with the Dei`endant in early 2002. 'l`wo
months later, Alma Williams, the human resources supervisor at SCS at the time, interviewed the
Plaintiff. (Def.’s Statement Undisputed Facts at 1-2.) SCS ultimately hired the Plaintift" and
provided him with training on what to do in specific classroom situations, how to gain control ol"a
class, how to make assignments, how to ask questions, and a general overview of the system (Det`.’s
Statement Undisputed F acts at 2.) However, as Johnson concedes, the parties never entered any
written employment contract. (l\/Iem. Supp. Def. Shelby County Schools’ Mot. Summ. J. (“Def`.’s
l\/lem.”), Exhibit Zl: Deposition of Johnny Johnson at 153 (hereinafter “Johnson dep. at _”).)

in April 2002, Plaintift` began substituting at various schools in Shelby County, including
Millington East Elementary School, Woodstock Middle School, and Northaven Elementary School.
On Septernber 23, 2003, the curriculum coordinator ol` Woodstock Middle submitted to the
Defendant an “unsatisfactory performance" report in which Johnson was noted to have made
inappropriate comments, such as he was God, he babysat Jesus, and the L“IQ test" was for white
people. (Def.’s Mem., Ex. 2.) Similarly, the curriculum coordinator at Northaven Elernentary
presented to SCS a report of unsatisfactory performance because “l\/Ir. Johnson ha[d] no control over
the students . . . [and] every class he has substituted in has been out ofcontrol.” (Det`.’s l\/lem., Ex.
3.) As a result of these reports, Williams met with Plaintift` to discuss the complaints and told him
that he was expected to maintain control of the classroom He was also advised that he would no
longer be allowed to teach at those schools but could substitute at other schools (Def.’s Mem. at
5; Johnson dep. at 119.) On October 18, 2002, SCS received from l\/lillington East Elementary

another report of unsatisfactory performance which stated that Johnson was unable to maintain

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discipline as a result of which the principal spent a large amount of time in Plaintist classroom
(Def.’s Mem., Ex. 5.) A final report was submitted by the curriculum coordinator at l\/Iillington
l\/liddle School because Johnson had rummaged through a teacher’s desk, offered students candy
from the desk drawer, and made inappropriate comments to the students including statements that
Americans were terrorists and that lie had personally met with Bin Laden. (`Def.’s l\/lem., Ex. 4.)

After several meetings and letters in which the Plaintiff denied acting inappropriately and
claimed that his words were taken out ofcontext, Williams sent Johnson a letter indicating that he
could no longer substitute teach for Shelby County Schools because he did "not consistently follow
through With the lesson plans” and did “not effectively discipline the students.” (Det`.’s Mem., Ex.
18.) Williams also noted that she was concerned by the fact that he did not Seek guidance or
suggestions from other teachers regarding maintaining control in the classroom (Det". ’s l`\/Iem., Ex.
IS.)

STANDARD FOR SUMMARY JUDGMENT

Rule 56(c) provides that a

judgment . . . shall be rendered forthwith if the pleadings, depositions, answers to

interrogatories and admissions on file, together with the affidavits, if any, show

that there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law.
Fed. R. Civ. P. 56(c); g Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 2552, 9l
L.Ed.Zd 265 (l986); Canderm Pharmacal1 Ltd. v. Elder Pharmaceuticals, lnc., 862 F.2d 597, 601
(6th Cir. 1988). ln reviewing a motion for summary judgment, the evidence must be viewed in

the light most favorable to the nonmoving party. Matsushita Elec. lndus. Co.t Ltd. v. Zenith

Radio Co[p., 475 U.S. 574, 587, 106 S.Ct. 1348, 13567 39 L.Ed.2d 538 (1986). When the motion

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is supported by documentary proof such as depositions and affidavits, the nonmoving party may
not rest on his pleadings but, rather, must present some “specific facts showing that there is a
genuine issue for trial.” M, 477 U.S. at 324, 106 S.Ct. at 2553. lt is not Sufficient "Sirnply
[to] show that there is some metaphysical doubt as to the material facts.” l\/[atsushita Elec. Indus_
@, 475 U.S. at 586, 106 S.Ct. at 1356. These facts mtist be more than a scintilla ofevidence

and must meet the standard of whether a reasonablejuror could find by a preponderance of the

 

evidence that the nonmoving party is entitled to a verdict Anderson v. Libertv Lobbv1 lnc1 477
U.S. 242, 252, 106 S.Ct. 2505, 2512, 91 L.Ed.2d 202 (1986). Summaryjudgment mttst be
entered "against a party who fails to make a showing sufficient to establish the existence of an
element essential to that party’s case, and on which that party will bear the burden of proof at
trial.” Q_t;l_<_)_t§_)g 477 U.S. at 322, 106 S.Ct. at 2552. ln this circuit, “this requires the nonmoving
party to ‘put up or shut up’ [on] the critical issues of [his] asserted causes of action.” M

Saratoga Capital, lnc., 920 F. Supp. 840, 847 (W.D. Tenn. 1995) (citing Street v. J.C. Bradford &

 

L, 886 F.2d 1472, 1478 (6th Cir. 1989)). The “judge may not make credibility determinations
or weigh the evidence." Adams v. l\/letiva, 31 F.3d 375, 379 (6th Cir. 1994).
ANALYSIS
ln his memorandum, Plaintiff argues that summary judgment is inappropriate because the
Defendant failed to adhere to the Local Rules ofthis District as well as the Federal Rules ofC`ivil
Procedure. Johnson also maintains that he has presented sufficient evidence supporting his race, sex,
and age discrimination claims to survive the Defendant’s motion The Court will consider the

arguments in turn.

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l. Defendant’s Failure to Follow the Local Rules and F ederal Rules

Johnson claims that SCS did not comply with Local Rule 7.2, Local Rules ofthe U.S. Dist_
Ct. for the W. Dist. of Tenn. ("Local Rules“), by failing to tile a statement of facts of which the
Defendant claimed there was no genuine issues to be tried. (l\/lem. Law Opp’n Def.’s l\/lot. Summ.
J. (“Pl.’s Mem.”) at 5.) Local Rule 7.2(d)(2) requires that the proponent of a summary judgment
motion include in a memorandum designated by serial numbering each material fact relied upon in
support of its motion along with copies of the record relied upon as evidence of the material fact_
LR7.2(d)(2), Local Rules. Based upon a review of the Court’s docket, it is clear that the Defendant
filed an accompanying Statement of Undisputed Facts on January 28, 2005 in compliance with the
Local Rules. (w Def.’s Statement Undisputed Facts.) Thus, Plaintiff’s argument on this issue is
meritless

Johnson also maintains that the Defendant cannot rely in its motion for summary judgment
on the Plaintiff’s deposition testimony (Pl.’s Mem. at 15.) He cites to Federal Rule of Civil
Procedure 32 which states in part that “[a] deposition taken without leave of court pursuant to a
notice under Rule 30(a)(2)(C) shall not be used against a party who demonstrates that, when served
with the notice, it was unable through the exercise of diligence to obtain counsel to represent it at
the taking ofthe deposition.” Fed. R. Civ. P. 32(a)(3). A notice under Rule 30(a)(2)(C) is necessary
when “a party seeks to take a deposition before the time specified in Rule 26(d).” Fed. R. Civ. P_
30(a)(2)(C). Rule 26(d) states that before a party may engage in discovery from any source, the
parties, at least 21 days before the scheduling conference is held, must have conferred to consider
the nature and basis of their claims and defenses Fed. R. Civ. P. 26(d) & (f). In this case, a

scheduling conference was held before Magistrate Judge Diane Vescovo on l\/lay 13, 2004 and

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Plaintiff’s deposition was not taken until September 22, 2004. Consequently, the Defendant did not
conduct Plaintiff’ s deposition, which was not taken pursuant to a notice under Rule 30(a)(2)(C), until
well after the 21 day time frame under Rule 26 had expired Accordingly, Johnson’s argument that
the Defendant cannot rely on his deposition is without basis.

Finally, because the Defendant relied in its motion on part of the Plaintiff’s deposition
testimony, .lohnson argues that SCS should be required to introduce into evidence another part of
his deposition in which he stated that he attempted to contact a large number of Memphis attomeys
after he was served with the notice ofthe deposition but was unable to successfully hire one. (Pl. ’s
Mem. at 15-16.) ln support of his argument, Johnson points to Rule 32(a)(4) which provides that
“[i]f only part of a deposition is offered in evidence by a party, an adverse party may require the
offeror to introduce any other part which ought in fairness to be considered with the part introduced,
and any party may introduce any other parts.” Fed. R. Civ. P. 32(a)(4). However, the fact that
Johnson Was unable to locate an attorney who would take his case is irrelevant as to whether Plaintiff
was in fact discriminated against and irrelevant under Rule 32(a)(3) because his deposition was not
taken pursuant to a notice under F ederal Rule of Civil Procedure 30. Accordingly, the Court finds
that the Defendant is not required to introduce the portion which Plaintiff claims should be admitted
under Rule 32(a)(4). S_e_e e.g., Fountain v. Norfolk & Western R.R. Co., No. 89-3462, 1990 WL
17871, at **2 (6th Cir. Feb. 28, 1990) (excluding a deposition as irrelevant under Rule 402 ofthe
Federal Rules of Evidence).

11. Title V11 Discrimination

ln order to establish a claim under Title Vll, a plaintiff must offer either direct or

circumstantial evidence of discrimination that would permit an inference of di scriminato ry treatment

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Farmer v. Cleveland Pub. Power, 295 F.3d 593, 603 (6th Cir. 2002). lf direct evidence of
discrimination is not available, then the burden-shifting approach set forth in l_\/chonnell Douglas
Co;p. v. Green, 411 U.S. 792, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973) and Texas Department of
Communitv Affairs v. Burdine, 450 U.S. 248, 101 S.Ct. 1089, 67 L.Ed.2d 207 (1981) applies
Eg_r__n;i_t§, 295 F.3d at 603. To establish direct proof of discriminatory intent, one must present
evidence proving the “exist'ence of a fact without any inferences or presumptions if believed.“ S£1
e.g., Brack v. Shonev’s. lnc., 249 F. Supp. 2d 938, 947 (W.D. Tenn. 2003) (citations oinitted)
(linding in a race discrimination case the comment “[the] store needed a manager who is ‘fair
skinned”’ was direct evidence, while a statement calling the plaintiff a “little black sheep” was not).
The Sixth Circuit has stated that direct evidence in a disability case would be similar to an employer
stating “I fired you because you are disabled.” Smith v. Ch;ysler Co@., 155 F.3d 799, 805 (6th Cir.
1998). Here, the Plaintiff acknowledges that he is presenting an indirect case because an inference
that he was discharged due to discriminatory animus is necessary to conclude that the Defendant
discriminated against him. (§e§ Establishing a Prima Facie Case of Age Gender Discrimination in
Employment (“Pl.’s Prima Facie Case”) at 11.) Thus, Johnson’s discrimination claims must be
analyzed under the l\/chonnell Douglas burden-shifting approach. §§ m, 249 F. Supp. 2d at
947.

Under the McDonnell Douglas framework, the plaintiff must first present a prima facie case
of discrimination, which would create a rebuttable presumption of discrimination Vaughn v.
Watkins Motor Lines, l.nc., 291 F.3d 900, 906 (6th Cir. 2002). If the plaintiff meets this requirement,
the defendant is then required to “articulate some le gitimate, nondiscriminatory reason" for engaging

in the challenged conduct. IQ (citation omitted). l f the defendant satisfies its burden, the plaintiff

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must then "prove that the proffered reason was actually a pretext to hide unlawful discrimination."
1_d_. (citation omitted).

ln order to establish a prima facie case ofdiscrimination, the plaintiffmust demonstrate that
he was (1) a member of a protected class, (2) qualified for his position, (3) suffered an adverse
employment action, and (4) was replaced by one who was not a member of his protected class §
lf the defendant is able to rebut the prima facie case by offering legitimate, nondiscriminatory
reasons for its challenged action, the burden shifts back to the plaintiff to show that the defendant’s
stated reasons were pretextual Mg@, 291 F.3d at 906. To establish that the proffered reasons
were pretextual, the plaintiff must show by a preponderance of the evidence that the reasons either
(1) have no basis in fact, (2) did not actually motivate the adverse employment decision, or (3) are
insufficient reasons to motivate the decision §§ Whitaker v. Wallace, 170 F.3d 541 , 544 (6th Cir.
1999) (citations omitted). The ultimate burden of persuasion remains at all times with the plaintiff
M, 450 U.S. at 253, 101 S.Ct. at 1093.

A. Race Di'scrt'mi`nnti`on

]. Disparate T recurrent

Johnson asserts that he has made out a prima facie claim for race discrimination As a black
male, he was a member of a protected class and as a trained substitute teacher, in addition to his
teaching experience, was likely qualified for thejob. §§ @ghn, 291 F.3d at 906. The Plaintiff`
suffered an adverse employment decision by being prohibited from substituting for Shelby County
Schools. S_e_e § However, Plaintiff makes no reference to being replaced by a substitute teacher
who is of the Caucasian race. Thus, Johnson has failed to satisfy the fourth element of a prima facie

case of discrimination

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Even if Plaintiff could present a prima facie case, his claim would still fail. Under the
McDonnell Douglas framework, the Defendant must provide a nondiscriminatory reason for its
decision following the presentation of a prima facie case. § Defendant submits that Alma
Williams terminated Plaintiff because he failed to discipline the students and follow the lesson plan
as well as made inappropriate remarks to the students (Def.’s Mem., Ex. 18.) The Defendant based
its decision on the fact that Johnson had already received reports of unsatisfactory performance from
four ofthe schools at which he taught (Def.’s Mem., Ex. 2.)

Consequently, because SCS offered nondiscriminatory reasons for terminating Johnson`s
employment, the Plaintiff would be required to demonstrate that the proffered reasons were
pretextuall E y_a_ugh_n, 291 F.3d at 906. Additiona]ly, as Williams was the person who hired
Johnson, he must overcome an inference that her decision was not motivated by discrimination §ee
Buhrmaster v. Ovemite Trasr). Co., 61 F.3d 461, 463 (6th Cir. 1995) (“[w]hen the individual who
hires a person is the same person who tires an employee, there is a strong inference that
discrimination did not motivate the employment decision”); g also Wexler v. White’s Fine
Furniture, Inc., 317 F.3d 564, 590 (6th Cir. 2003) (stating that the “same-actor” inference supports
“the conclusion that a person who hired an age-protected employee, but who later demotes or
discharges that same employee, probably was not motivated by ageist bias”).

Johnson did not even assert, much less present any evidence, that Williams’s stated reasons
for terminating him had no basis in fact, did not motivate the decision, or were insufficient to impel
the decision §§ Whitaker, 170 F.3d at 544 (citations omitted). In fact, in his own deposition,
Plaintiff stated that he thought Williams genuinely based her decision to terminate his employment

on the various reports which he believed she received. (Johnson dep. at 123, 150.) Plaintiff has not

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shown that Defendant’s reasons for termination were pretextual Accordingly, Plaintiff’s claim of
disparate treatment is dismissed based on his failure to establish a prima facie case as well as his
inability to show that Defendant’s stated reasons for termination were not worthy of belief

2. Disparate Impact

A. claim of disparate impact L`occurs when an employer treats some employees less favorably

than others because of race, religion, sex, or the like.” Hugulev v. General Motors Corp., 52 F.3d

 

1364, 1370 (6‘h Cir. 1995). Title Vll proscribes “‘not only overt discrimination but also practices
that are fair in form, but discriminatory in operation.”’ Kovacevich v. Kent State Univ.. 224 F.3d

806, 830 (6th Cir. 2000) (quoting Griggs v. Dul<e Power Co., 401 U.S. 424, 431, 91 S.Ct. 849, 853,

 

28 L.Ed.Zd 158 (1971)). ln a disparate impact case, a plaintiff must "prove that a particular
employment practice, although neutral on its face, has produced a significant adverse effect on a
protected group to which the plaintiff belongs.” Ld. The plaintiff “must first establish a prima facie
case by identifying and challenging a specific employment practice, and then show an ‘adverse
effect’ by offering statistical evidence “of a kind or degree sufficient to show that the practice in
question has caused the’ adverse effect in question.” _l__cL (internal citations omitted).

Johnson argues that the “report of unsatisfactory performance on a substitute teacher" was
used by the Defendant to discriminate against him based on his race. He points to several articles
discussing the use ofevaluation forms and asserts that experts in the fields ofpersonnel management
and organizational psychology agree that an evaluation form should include a minimum of three
performance ratings (Pl. ’s Prima Facie Case at '/`.) He also refers to a 1990 census report detailing
the work profile in Memphis, Tennessee, which Johnson claims establishes that African Americans

are disproportionately underrepresented (Pl.’s Prima Facie Case at 18.) With this information1

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Plaintiff may be attempting to state a claim of disparate impact discrimination against the Defendant
However, Plaintiff’ s statistics do not reflect that SCS employs a disproportionate lesser number of
African Americans. Indeed, Johnson’s proffered articles and reports do not even speak to the
Defendant’s employment practices Therefore, since he has not offered any evidence specific to
SCS, the Court concludes that Plaintiff has failed to establish that any employment practice of the
Defendant has produced a significant adverse impact against blacks §§ Kovacevich, 224 F.3d at
830. To the extent Johnson’s complaint could be construed as claiming race discrimination under
a disparate impact theory, the Court GRANTS Defendant’s motion for summaryj udgment as to that
claim.

B. Sex Dtscrimtnation

The Plaintiff does not specify whether he is pursuing a disparate treatment or a disparate
impact theory of sex discrimination, although he has provided statistical information about men and
Wornen in the Work force. Based on what he has submitted, the Court will assume that .lohnson is
presenting both types ofclaims. However, under either approach, Johnson has failed to establish a
prima facie claim. ln the disparate treatment context, Johnson is presenting a “reverse discrimination
claim” where an employer allegedly discriminates against the majority, that is males. w _RM
Libbey Glass, lnc., 133 F. Supp. 2d 610, 620 (N.D. Ohio 2001). ln order to make out a prima facie
case of reverse discrimination, Plaintiff must show that “background circumstances support the
suspicion that the defendant is that unusual employer who discriminates against the majority” and
that “the employer treated differently employees who were similarly situated but not members ofthe
protected group.” § Yeager v. General l\/lotors Corp., 265 F.3d 389, 397 (6th Cir. 2001), Lrt.

denied, 535 U.S. 928, 122 S.Ct. 1299, 152 L.Ed.2d 211 (2002) (citation omitted).

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ln his memorandum, Plaintiff neither argues nor addresses the issue of whether SCS is the
type ofunusual employer who discriminates against men. §§ Dgg, 265 F.3d at 397. l\/loreover1
even ifJohnson could establish a prima facie claim, SCS has presented nondiscriminatory reasons
Whicli he has been unable to refute as pretextual. Therefore, the Court finds Plainti ff has failed to
establish a claim of sex discrimination based on disparate treatment

With respect to his possible disparate impact claim, Johnson submits that L‘[i]n l 967, nearly
65% of the men surveyed agreed with th[e] principle that the role of married Women is best confined
to home and family while only about 45% of the women agreed with this position toward a married
woman’s role in society.” (Pl.’s Prima Facie Case at 6.) Plaintiff further provides an unsupported
statement that “[i]t is a known fact that women out-number men in elementary schools in Shelby
County Tennessee by a ratio of approximately 20 to l.” (Pl.’s Prima Facie Case at 8.) To bolster
his position, Johnson attached several articles discussing the roles of women and men in the
workplace. (Pl.’s Prima Facie Case, Ex. A, B, C, F, & G.) However, neither these articles nor
Plaintiff”s conclusory statements refer to SCS or its treatment of male substitute teachers
Conclusory statements devoid of factual bases do not create a genuine issue of material fact.

Essence, Inc. v. Citv ofFederal Heights, 285 F.3d 1272, 1289 (10th Cir. 2002), cert. denied, 537 U.S.

 

947, 123 S.Ct. 411, 154 L.Ed.2d 291 (2002); Slowiak v. Land O'Lakes. lnc., 987 F.2d 1293, 1295
(7th Cir. 1993). Consequently, as Johnson has presented no credible or admissible evidence
concerning the Defendant’s treatment of male substitute teachers, the Defendant’s motion for
summary judgment as to Plaintiff’s sex discrimination claim under a disparate impact theory is

GRANTED.

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l,ll. ADEA

Age discrimination actions under the ADEA “are analyzed under the same framework as
employment discrimination cases under Title Vll.” Grosiean v. First Energv Corp., 349 F.3d 33 2,
335 (6th Cir. 2003) (citations omitted). Therefore, to make out a prima facie case of age
discrimination under the ADEA based on a disparate treatment theory, the “plaintiff must establish
that: (1) he was at least 40 years old at the time ofthe alleged discrimination; (2) he was subjected
to an adverse employment action; (3) he was otherwise qualified for the position; and (4) after he
was rejected, a substantially younger applicant was selected.” Burzynsl<i v. Cohen, 264 F.3d 61 l t
622 (6th Cir. 2001) (citations omitted). Once the plaintiff establishes a prima facie case for
discrimination, the burden-shifting process, as in Title Vll cases, occurs fm “Age must be a
‘determining factor’ in an employment decision in order to impose liability upon the employer.”
Blackwell v. Sun Elec. COI'D., 696 F.2d 1176, 1181 (6th Cir. 1983). 'l`he ADEA “was not intended
as a vehicle forjudicial review ofbusiness decisions.” Ackerman v. Diamond Shamrock Corp., 670
F.2d 66, 70 (6th Cir. 1982) (citations and internal quotations omitted). Moreover, the ‘“ADEA was
not intended to protect older workers from the harsh realities of common business decisions and
hardships associated with corporate reorganization, downsizing, plant closings and relocations."

Allen v. Diebold lnc., 33 F.3d 674, 677 (6th Cir. 1994).

 

ln support ofhis claim based on disparate treatment, Johnson, who is over forty, submits that
he was subjected to age discrimination when he was taken off the list of eligible substitutes for
Shelby County Schools. However, .lohnson has not presented any evidence showing that
substantially younger substitute teachers were selected in his place. E Burzynski, 264 F.3d at 622.

Thus, he has not established a prima facie case of age discrimination As well, the Defendant has

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offered nondiscriminatory reasons for Johnson’s discharge which he has not rebutted as pretextual.
Finally, Plaintiff has presented no facts which would overcome the same-actor inference E
M, 317 F.3d at 590.

As with his other claims, Plaintiffpoints to articles, one ofwhich is entitled “The Graying
Professoriate: F acuity Attitudes and Characteristics; Results of a 1998-99 Survey’1 which notes that
“the majority of the workforce is located between the age brackets of 40-54" while the number of
employed persons over 60 years old is much less. (Pl.’s Prima Facie Case at 13-14.) Relying on a
1990 census report for Memphis, Tennessee, Plaintiff concludes that, because only 8.4% of the total
work force was between 55 and 64 years old, “not many seniors over 65 years old in l\/lemphis are
employable.” (Pl.’s Prima Facie Case at 18.) Likewise, as with his previous submissions, none of
the statistics or information on which the Plaintiff relies establishes that SCS discriminated against
him or anybody else. The fact that “not many seniors” are working in the City of l\/lemphis proves
nothing about whether the Defendant may have discriminated against people over the age of forty
Plaintiff’s statistics are irrelevant and therefore inadmissible §_e_e McMillan v. l\/Iass. Soc’v for the
Prevention of Crueltv to Animals, 140 F.3d 288, 303 (lst Cir. 1998) (stating that in a disparate
impact case statistics that are “so incomplete” are inadmissible as irrelevant) (quoting Bazemore v.
_Fri£y, 478 U.S. 385, 400 n.10, 106 S.Ct. 3000, 92 L.Ed.2d 315 (1986)). Thus, the Court GRANTS
Defendant’s motion for summary judgment on Plaintiff` s age discrimination claim.

CONCLUSION

For the reasons articulated herein, the Defendant’s motion for summary judgment is

GRANTED. Accordingly, this matter is DlSMlSSED, Plaintiff`s motion to continue the trial date

is DENIED as moot, and the Clerk of Court is directed to enter judgment in favor of the Defendant

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1T is so 0RDERED thisZQ_"day arAprit, 2005.

 

J. A IEL BREEN \
rr r) sTArEs DtsTRicT JUDGE

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DITRICT oURT - wEsTRNE Dt"iCrRT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
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Honorable .l. Breen
US DISTRICT COURT

